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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


     LAURA ANNETTE ZOLLAR,

               Plaintiff,                                          Case No.: 1:24-cv-03959

     v.                                                            Judge John Robert Blakey

     THE PARTNERSHIPS AND UNINCORPORATED                           Magistrate Judge Beth W. Jantz
     ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

               Defendants.

                                     NOTICE OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 104                             Wocachi (7 ~ 14 days delivery)


DATED: June 27, 2024                                   Respectfully submitted,

                                                       /s/ Keith A. Vogt
                                                       Keith A. Vogt (Bar No. 6207971)
                                                       Keith Vogt, Ltd.
                                                       33 W. Jackson Blvd., #2W
                                                       Chicago, Illinois 60604
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                                                       ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-03959 Document #: 39 Filed: 06/27/24 Page 2 of 2 PageID #:1556




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 27, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
